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                                                            Exhibit A to the Complaint
Location: San Antonio, TX                                                                                 IP Address: 24.243.4.200
Total Works Infringed: 60                                                                                 ISP: Spectrum
 Work            Info Hash                                  UTC                 Site               Published           Registered    Registration
 1               D62E8BCC9D342C4B458664ED2CC066B12833F598         01/18/2025    Blacked            06/17/2024          07/15/2024    PA0002480615
                                                                     20:06:29
 2               7e5d7e8157a7e68f12128358e84cf946813209b8         01/19/2025    Slayed             12/21/2021          01/07/2022    PA0002337942
                                                                     03:45:19
 3               bf85a8419b20199057bb4bae5c0f209ff194fe6b         01/18/2025    Blacked Raw        08/19/2021          09/30/2021    PA0002319752
                                                                     20:18:19
 4               bffa501309a79e516f225f9724ce948cf381c71e         01/18/2025    Blacked Raw        05/22/2019          07/17/2019    PA0002188299
                                                                     20:12:53
 5               52b60989248228d1123889a0bed4c5485deba85c         01/18/2025    Blacked Raw        12/20/2022          01/09/2023    PA0002389608
                                                                     20:00:56
 6               5a8a0095c538a7ddccedb1237fe1ba75c45a11e4         01/18/2025    Blacked            03/29/2024          04/10/2024    PA0002464918
                                                                     20:00:51
 7               a69a403d0fa320af408b33bb61a0fb7f82700285         01/18/2025    Blacked Raw        05/29/2023          06/09/2023    PA0002415372
                                                                     03:25:32
 8               ed45608d4895328760b4fa1746ba3c1248c664e1         01/18/2025    Blacked Raw        11/20/2023          12/12/2023    PA0002444867
                                                                     03:22:42
 9               e62a57e5d7eb9ebc30bc3f00ab989514caf06836         01/18/2025    Blacked            01/07/2023          01/27/2023    PA0002393078
                                                                     03:22:29
 10              346d371ac88a8e92d5eee3c5e76d70add11fdfc2         01/18/2025    Tushy              11/24/2024          12/13/2024    PA0002506272
                                                                     03:19:13
 11              fbba2c5b60828687b1874eccf427fc1b3720e112         01/18/2025    Blacked Raw        05/20/2024          06/18/2024    PA0002476880
                                                                     03:18:55
 12              3c139e7fb1606303c87276663568fa7959268324         01/18/2025    Tushy              08/04/2024          08/14/2024    PA0002484839
                                                                     03:17:37
 13              BDFF548F4694A59A4541950DDFD72D344DBA432E         01/15/2025    Tushy              07/17/2022          07/22/2022    PA0002359476
                                                                     02:31:52
 14              8995DF84511B3DCA5F9A125B10488A637DE109A0         01/15/2025    Vixen              11/10/2017          12/04/2017    PA0002097978
                                                                     00:32:08
 15              A17B0FA79E3BF382B50EECA2F4704ED6D2E11DEA         01/15/2025    Vixen              02/28/2018          04/17/2018    PA0002116071
                                                                     00:29:48
 16              4f1b329b7cea60c075e4d23c5c30150671eaa697         01/14/2025    Milfy              01/24/2024          03/15/2024    PA0002461445
                                                                     01:12:04
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Work   Info Hash                                  UTC                 Site               Published       Registered   Registration
17     A6E1820762BA459956B824E516EF5B4E164F371E         01/10/2025    Blacked Raw        05/17/2021      06/03/2021   PA0002299687
                                                           01:44:22
18     bc7bf791de35fa9c03c7f3dc30f9c96396f4afb4         01/10/2025    Vixen              08/17/2019      09/10/2019   PA0002199413
                                                           01:13:26
19     346E2D6AB7C51D398A4F2389973BA86F290CBEB4         01/09/2025    Vixen              08/07/2020      08/18/2020   PA0002253099
                                                           01:40:56
20     2E8CFE0F2C55F15877A13A57C89D602862CFF235         01/09/2025    Blacked Raw        12/25/2022      01/09/2023   PA0002389598
                                                           00:55:32
21     48602926BFD95B81D209185755FFB40CA982FCC1         01/09/2025    Tushy              08/30/2020      09/05/2020   PA0002255477
                                                           00:33:14
22     7F187A4FE74F0E612D9964F9F752DDBF11324492         01/09/2025    Vixen              06/25/2021      08/20/2021   PA0002312014
                                                           00:27:35
23     39EA130409B7541841C95EAFB990A077176484A0         01/09/2025    Vixen              11/25/2022      12/11/2022   PA0002384729
                                                           00:24:09
24     fb653c1cc2ea9b129a67089f5640d6f995b6e01d         09/04/2024    Tushy              01/28/2024      02/13/2024   PA0002454861
                                                           19:05:01
25     efeed3dce53366e1845eb4d8e3dd6098ae0471e7         09/03/2024    Tushy              07/23/2023      08/17/2023   PA0002425533
                                                           23:46:48
26     eb6cd029368e61fd24e4f469d618aec666a89208         09/03/2024    Blacked Raw        10/09/2023      10/18/2023   PA0002435308
                                                           05:37:45
27     09584b27bc801a84933d6c174a8340c967d5b202         08/31/2024    Slayed             10/07/2021      11/01/2021   PA0002326408
                                                           04:31:03
28     2cd9810a3e3426d2595bd4d10b8f7e1b5e3bd0a1         08/30/2024    Vixen              07/18/2018      09/01/2018   PA0002119684
                                                           23:11:10
29     edd1d5c71b0e25b41ac43a33a9c645b1060b2ea9         05/05/2024    Blacked            07/04/2020      07/20/2020   PA0002248966
                                                           10:40:05
30     c41e9917df01d65397d42a79e388fa0b4e5ac08a         05/03/2024    Blacked            02/19/2020      03/18/2020   PA0002241617
                                                           03:15:40
31     88211fded09ea4e641740b407ff71fd253b32996         04/20/2024    Vixen              06/28/2018      07/26/2018   PA0002112159
                                                           13:39:59
32     97ab7f4c7c9cc2be09e7c4f59acd77cf1b7ea879         03/20/2024    Tushy              03/17/2019      04/08/2019   PA0002164888
                                                           17:47:11
33     00886f4d7b403c619e17a9ea37657c6cad5e7aa2         03/20/2024    Blacked            10/21/2023      11/13/2023   PA0002439582
                                                           09:15:45
34     c7dbb7401ab0bbd41ae23ce6443de6a5ad4e47da         03/19/2024    Blacked Raw        10/06/2022      11/01/2022   PA0002378072
                                                           14:11:00
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Work   Info Hash                                  UTC                 Site              Published       Registered   Registration
35     0676745e9ed99fa60845f757fcac3fce39a37d4c         03/17/2024    Tushy             01/10/2021      02/09/2021   PA0002276153
                                                           20:36:34
36     d3668a99fef32cfd9c545a02dd102515cde95d98         03/16/2024    Vixen             06/13/2019      08/02/2019   PA0002192295
                                                           08:09:34
37     f10430d871d4f5f7fd37191d05b947ea5ea09ddc         03/15/2024    Tushy             03/13/2022      03/29/2022   PA0002342866
                                                           01:42:50
38     631ebf11ba063bc5fd5ec00d9d28fea0504511a2         03/14/2024    Tushy             01/31/2019      02/22/2019   PA0002155140
                                                           22:39:41
39     847be03e0b3f775b926e1d6df74ff775ab84c3e7         03/14/2024    Blacked Raw       09/20/2021      11/11/2021   PA0002321298
                                                           18:34:46
40     0c0749d455b18f320099e7ece26c2f1cbcbff0ea         03/13/2024    Tushy             11/29/2020      01/04/2021   PA0002277033
                                                           09:12:28
41     86dbbd19b68cca8212bbb000a3a724acfd8751d1         03/09/2024    Tushy             06/05/2022      06/27/2022   PA0002355037
                                                           18:51:47
42     630ee80c8aee8c4e47b2767302d24b2eb9f55483         03/09/2024    Vixen             07/01/2022      07/22/2022   PA0002359463
                                                           05:59:06
43     f0e6f9b4f59f388fa1b13469986c96fdd80eb501         03/06/2024    Blacked Raw       06/20/2022      08/10/2022   PA0002370905
                                                           16:17:39
44     f9d3e648d178964d2852f30e11952530cc87e52d         03/05/2024    Milfy             10/11/2023      12/14/2023   PA0002445916
                                                           19:17:25
45     66135e1004ef7468bfcf65b432a705d38b4217bf         03/05/2024    Vixen             01/28/2022      03/04/2022   PA0002345791
                                                           16:14:02
46     99aa28d680e46d9312f01c31ce5164fe28aa1d87         03/05/2024    Blacked Raw       01/24/2022      02/14/2022   PA0002335489
                                                           01:08:41
47     0185608d5fc14c71957a6af0a95e6b9a69ed9ba0         03/04/2024    Blacked Raw       06/18/2023      07/13/2023   PA0002420357
                                                           21:11:02
48     80934019beaf9f23ecdf20ded11c1f7b058f89ab         03/03/2024    Tushy             05/11/2019      07/05/2019   PA0002206404
                                                           16:47:16
49     0355764512850e11ab31962e2d6d1d0ddcdd9744         03/01/2024    Blacked           04/10/2019      05/11/2019   PA0002173883
                                                           22:16:45
50     8f956f468c97daa77692ed5c69013c520596b3ee         03/01/2024    Tushy             03/14/2021      03/22/2021   PA0002282514
                                                           20:32:40
51     339399cceab1e12d9edbd67375b927815033676b         10/05/2023    Vixen             06/23/2019      08/27/2019   PA0002213299
                                                           17:46:26
52     B0487BB600A7A789F5C4D0AF7A347AD49FB45F4B         10/05/2023    Tushy             11/20/2022      12/11/2022   PA0002384715
                                                           01:53:21
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Work   Info Hash                                  UTC                 Site              Published       Registered   Registration
53     D7E06D9569BF6085B1F475CF67B6A789CA14DC97         10/05/2023    Tushy             05/21/2023      06/09/2023   PA0002415379
                                                           00:55:38
54     7bcaf3207d7aded3194f9ad8ea8ba3a9b147f568         09/25/2023    Blacked Raw       12/28/2020      01/05/2021   PA0002269956
                                                           00:26:47
55     73e2498eba6169f66abb67dd3dfafd0d1e3ef225         09/25/2023    Vixen             07/16/2021      09/21/2021   PA0002312673
                                                           00:16:46
56     3c984f41a858548a0174b65bdd80dccee9960c06         09/22/2023    Tushy             11/17/2019      11/27/2019   PA0002213996
                                                           22:39:16
57     8a6a3c70484877106215a2c13c20c053835866d4         09/22/2023    Tushy             10/25/2020      11/24/2020   PA0002265965
                                                           21:45:13
58     94fbe091ad83512f9cd649a90e6f4f66d56798f0         04/15/2023    Tushy             06/30/2019      07/17/2019   PA0002188300
                                                           19:21:51
59     dd403e496e155b4c8369d306e4f8fd5b37bddc93         04/13/2023    Tushy             06/28/2020      07/17/2020   PA0002248597
                                                           05:40:09
60     193867c126000a627ff1bd34f813f3cbf46a3b02         11/30/2022    Tushy             04/21/2019      06/03/2019   PA0002178776
                                                           00:58:19
